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                           IN THE UNITED STATES DISTRICT COURT
                              - FOR THE DISTRICT OF COLORADO

   Case No. 1:16-cv-02981-MSK-KMT

   TECH INSTRUMENTATION,INC., a Colorado corporation,
   individually and on behalf of all others similarly situated,'

            Plaintiff,

   v.

   EURTON ELECTRIC'COMPANY,INC.,<a California corporation

            Defendant.


         DEFENDANT EURTON ELECTRIC COMPANY,INC.'S OPPOSITION
    TO PLAINTIFF TECH INSTRUMENTATION,INC.' MOTION FOR APPROVAL OF
    PLAINTIFF'S PROPOSED PLAN FOR DISSEMINATING NOTICE TO THE CLASS;
                   DECLARATION OF THEODORE E.BACON


   I.       INT120DUCTION
            Plaintiff Tech Instruments, Inc.("Plaintiff') brings this Motion -for the purposes of

   approving both its proposed summary notice to the class and the manner in which it will be

   distributed. Defendant Eurton Electric Company, Inc.("Defendant") opposes this Motion on

   two grounds:(1)Defendant believes that its proposed version ofthe class notice is more in line

   with the requirements under Federal Rules of Civil Procedure Rule 23("Rule 23")and

   encourages readership, and (2)that Defendant's customer list should not be used for the purposes

   of determining the recipients ofthe class notice.

            First, and foremost, Defendant believes that Plaintiff's Motion is incomplete. The class

   notice that is being proposed by Plaintiff i~ a summary notice, which attempts to refer the

   recipient of said notice to a website for additional information, including the detailed notice.

   While the use of a summary notice is entirely proper, Defendant's has issue that it is presently in

   the dark as to what the contents and form ofthe both the website and the detailed notice. As

   such,.Defendant believes that it would difficult to agree to send out the summary notice at this

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   time with no certainty as to the additional content that the summary notice is referring recipients

   to. In the Motion, Plaintiff claims that the "Parties -can meet-and-confer about the specific

   contents of the Case website before it goes live." See Motion, p. 3. However,if there is a

   disagreement, the resolution would be for the parties to come back in front ofthe Court again.

             Nonetheless, for the reasons stated below, Defendant believe that Court should utilize its

   proposed notice and list of recipients for purposes of providing notice to the potential- class.

   II.       PLAINTIFF'S PROPOSED NOTICE DOES NOT ENCOURAGE READERSHIP

             AND DOES NOT CLEARLY INFORM THE RECIPIENT THAT THEY MUST

             MAKE A DECISION NOW TO "OPT-OUT"

             Defendant is in agreement with Plaintiff's resuscitation ofthe factors to be considered

    when determining if a class notice is proper as found on Page 2 of the Motion. To reiterate:

                      The notice must explain, in easily understood language:(1)the
                      nature ofthe action;(2)the class definition;(3)the claims, issues,
                      and~defenses;(4)that a class member may enter an appearance
                      through their own attorney;(Sj that class members may request
                      exclusion;(6)the time and manner for requesting exclusion; and
                     (7)the binding effect of a class judgment.

   See Kennet v. Bayada-Home Health Cage,_Inc.-(2018 WL 3145400, *6(D. Colo. Jun. 27, 2018).

             However, more guidance on this issue can be found with the Federal Judicial Center and

   its Judge's Class Action Notice and Claim Process Checklist and Plain Language Guide (the

   "Guide"). Specifically, with regard to the utilization ofsummary notices, the Guide states as

   follows:

                          Do the notices include the Rule 23 elements? Even the summary
                          notice?

                      Summary notices, whether mailed or published, eiicoa~rage
                      readefsl~ip, and the FJC illustrative notices show that even
                      summary notices can include all elements required by Rule
                      23(c)(2)(B). Best a►t overly short srsf~Zsrt~a~y notice, o~te th~rt mostly
                      poi~its ir~terestetl retr~lers to a detcrle~ ~zotice, care resr~lt i~~ ~itost
                      class ry~e~rzbe~s (fvho Lead ofaly the sutrar~tary y~otice) being
                      u~zaware of basic rig/rts.
    See FEDERAL JUDICIAL CENTER, Judges' Class Action Notice                and CZainZs PNocess "Checklist and


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   Plain Language Guide 3(20100(p. 5)[emphasis added], Moreover, with regard to the size of

   the notice itself, the Guide states:

                       Is the size of the notice sufficient?

                       Consider the balance between cost efficiency and effectiveness. A
                       small publication notice will save money, but too small and it will
                       not afford room for a noticeable headline, will not fit necessary
                       information, and will not be readable if using fine print.'
   Id.(p. 6)

             Defendant's proposed class notice is attached hereto as Exhibit 1. While Defendant has

   attempted to keep its proposed notice as reasonably short as possible, Defendant believes that the

   contents and form of its proposed notice encourage readership and clearly explains each

   recipients rights.at this time. It should be noted that Defendant utilized an illustrative example of

   a summary notice from the Federal Judicial Center as reference in drafting its proposed notice.

   See Exhibit 2 attached hereto.

              A.       Tie Frant of the Postcard

             Fist, Defendant's proposed formatting of the front of the class notice will draw the

   attention of the recipient. This formatting of would more than likely draw the recipient's eye to

   the phrases "Fax Advertisement,""Eurton Electric, and "Class Action Lawsuit." This would

   potentially allow the recipient to more readily understand tl~e purpose ofthe notice.

             Second, Defendant's proposed notice replaces Plaintiffs statement "Learn More at:

    www.[websiteURL].com" with the phrase "PLEASE READ THIS NOTICE IMMEDIATELY

   TO KNOW YOUR RIGHTS!" Plaintiff's attempt to at the outset to direct recipients to the

    website does not comport with Guide's emphasis on encouraging readership: On the other hand,

    Defendant proposed change to the class notice entices the recipient to actually read the notice.

              B.           The Back of the Postcard

              In following the illustrative example from the Federal Judicial Center, Defendant

    proposed changes to the class notice(1) uses plain language (refraining from use of legalese),(2)

    puts the recipient on notice of the main claim and defense in this lawsuit,(3)provides the present


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   status ofthe lawsuit, and (4)states the recipient's present obligation of making a determination

   of either staying part ofthe class action or requesting an exclusion.

             First, instead of simply,stating "Summary Notice" at the top ofthe page, Defendant's

   proposed notice summarizes the issue for the recipient: "YOUMAYBEAFFECTED BYA CLASSACTION

   LAWSUIT ABOUT WHETHER EURTON ELECTRIC SENT UNSOLICITED FAXADVERTISEMENTS."

             Second, unlike- Plaintiff's initial summary, Defendant's proposed notice tries to provide

   plain language to explain the present status of litigation and actually explains to the recipient a

   "Class."

             ThiNd, under the subheading "Nature of Action;" Plaintiff fails to.explain the main

   affirmative defense of Defendant. As such, Defendant's proposed notice more clearly explains

   each side's position in this lawsuit to the recipient, that a determination on the merits has.not

   occurred, and that the Class will still have to prove their claims at a trial.

             Fourth, Defendant's proposed notice attempts to utilize plan language to explain the

   scope ofthe class

             Fifth, Defendant's proposed notice better explains to the recipient the "Class Counsel;"

   how the "Class Counsel" will be compensated, and each recipient's right to obtain their own

   counsel at their own expense.

             Sixth, Defendant's. propose notice clearly and succinctly .states what each of the

   recipient's options are at this time. Moreover, it clearly states that the recipient has to decide

   now. This follows the illustrative example from the Federal Judicial Center. On the other hand,

   Plaintiff's propose notice appears to bury the recipient's option in an unclear paragraph. Indeed,

   instead of succinctly stating the recipient's choice at the beginning of this section, Plaintiff's

    proposed notice first states "You can discuss the case with Class Counsel."

              A comparison of Defendant's proposed notice to Plaintiff's proposed notice demonstrates

   that Defendant's proposed notice encourages to recipient to read the notice, provides greater,

    understanding, and succinctly states the recipients options at this time. As such, Defendant's

    proposed notice should be approved as the class notice for this lawsuit.

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   III.      DEFENDANT'S CUSTOMER LIST SHOULD NOT BE USED FOR THE

             DISTRIBUTION OF THE CLASS NOTICE

             In the Motion, Plaintiff asserts that "because Eurton has addresses for business on its

   customer list, notice via direct.mail, following a search inquiry for any updated addresses, is

   most appropriate under the circumstances." See Motion, p. 3. Defendant disagrees. `

             The confidential customer list that has been.provided to Plaintiff has more than

   approximately 7,500 customers on it. However; there is no indication which portion ofthese

   customers actually received an offending fax which would qualify the recipient to not only be a

   member ofthe class, but to have standing in this lawsuit. This idea is an overarching issue that

   will have to be addressed soon by class discovery in this lawsuit.

             To provide a summary,this lawsuit seeks damages pursuant to the Telephone Consumer

   Protection Act("TCPA"), it is unlawful for any person in the United States "to use any telephone

   facsimile machine, computer, or other device to send, to a telephone facsimile machine an

   unsolicited advertisement[.]" See 47 U.S.C. § 227(b)(1)(C). The TCPA defines the term

   "unsolicited advertisement" as "any material advertising the commercial availability or quality of

   any property, goods, or services which is transmitted to any person without that person's prior

   expNess invitation or permission, in writing or otherwise." See 447 U.S.C. § 227(a)(5)[emphasis

   added]. In sum,to have standing to assert a claims under the TCPA,the plaintiff, or class

    member, would, at the minimasm;~ have to have received the facsimile. Indeed, in determining

    that a plaintiff had not sustained a concrete injury under the TCPA,the District Court for the

    Western District of Pennsylvania explained that "there is insufficient evidence to determine that

    what was actually sent was a fax that violated the TCPA or that an unsolicited fax was received."

   See Community Vocational Schools ofPittsburgh, Inc. v. Mildon Bus Lines, Inc. 307 F.Supp.3d

   402, 418(W.D. Penn. 2018).

              For claims relating to the transmitting of unsolicited faxes, class wide proof is usually in

    the form of"fax logs," reports the identify the recipient and whether that recipient received a

    successful fax transmission. However,"[w]ithout fax logs of successful transmissions or other

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   such evidence, the only way potential class members could prove they were `sent'junk faxes, as

   required by the class, definition,is through individual testimony." See St. Louis Heat Center,

   Inc. v. Vein Centersfor Excellence, Inc. 2017 WL 2861878, *4(E.D. Miss. Jul. 5,2017).

             In this lawsuit, Defendant is in possession offax logs for fax transmission that occurred

   in 2017, but has not been able to locate any fax`logs prior to said transmissions in 2017. See

   Exhibit 3 attached hereto. As such, for any claims prior to 2017, there will have to be discovery

   on this issue of standing and the receipt of a fax by each of the class members. Indeed, such

   appears to have been acknowledged by Plaintiff in its Motion for Class Certification that .

   discovery would have to be done.on this issue:

                      To the extent there remains any doubt, Class Members can provide
                      records, including affidavits and documents including phone bills
                      and copies ofthe faxes themselves, to establish class membership.
                      [...] Documentary evidence, together with sworn declarations from
                      class members, can be used to show class membership.

   See Docket #36(p. 11).

             Defendant is not trying to put the cart before the horse in this Opposition, but is

   attempting to put this Motion in context of what will be requested next by Defendant.

   Nonetheless, the use ofthe customer list will make this task more burdensome during discovery.

   The use of an "opt-out" notice along with the class list would mean a greater chance of including`

   people and business that do not have standing in this lawsuit, which would create a significant

   due process issue for Defendant.

              Therefore, instead of utilizing the customer list, Defendant proposed using the fax logs

   from 2017, along with its fax number list. See Exhibit 4 attached hereto. With regard~to the fax

    number list,.Defendant keeps a running list of entities to send fax advertisements to, and would

   remove anyone from the list that requested to be removed:

                           Q.     Is it your testimony that there were more and you just don't
                           have the e-mail anymore?

                           A.     Correct. Yeah.

                           Q.     About how many more?


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                      A.     If we would get asked, I would take the number, remove
                      them from the list; update the list, and it would be gone.

                      Q.     And then you would probably delete the e-mail?                                `

                      A.     Pd delete the e-mail or usually, the funny thing is, more
                      people would fax it back to me.

                      Q.     And what would you do with those faxes?°

                      A.     I would tell them please don't fax me.

                      Q.     Would you remove them from the list?

                      A.     Yes, of course:

                      Q.     Would you save the fax or throw it out?

                      A.     I would throw it out after I removed them.

                      Q.     Okay. So there is no pile offaxes sitting somewhere from
                      people asking you not to fax them anymore?

                      A.     Correct.
   See Exhibit 5 attached hereto(RT,35:8-36:2). However,the removal percentage was low, with

   Defendant never receiving any request for removal for approximately 95% ofthe numbers on the

   list. See Exhibit 5 attached hereto (RT, 123:21-124:9).

            In the Motion, Plaintiff states that a "notice plan that reaches at least 70% ofthe class is

   reasonable." See Motion, p. 2. Thus, the utilization ofthe fax list and the fax logs from 2017,

   the parties should be able to send notice to at least 70% ofthe potential class. Moreover, while

   using this method would`not alleviate the need for class discovery, it will make the act of

   performing class discovery less burdensome.

            If this method the utilization ofthe fax list and fax logs is agreeable, Defendant will work

   with Plaintiff to try to readily identify the businesses associates with each fax number in order to

   allow for the summary notice to be sent by mail. Moreover, for fax numbers in which the owner

   cannot be identified,. notice could be sent to those potential class members by facsimile. Indeed,

   other cases have utilized such methods of delivery when appropriate. See St: Louis Heart'

   Center, Inc. supra, 2017 WL 261878 at *2 ("...class notice was sent to potential class members

   by fax and then U.S. Mail, if necessary.")

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   IV.       CONCLUSION                                             i

            Based upon the foregoing, Defendant respectfully requests(1)that its proposed notice,

   attached hereto as Exhibit 1, it utilized as the class notice in this lawsuit; and(2)-that recipients

   ofthe class notice are based upon the fax list and fax logs, attached as Exhibits 3 and 4, instead

   of Plaintiff's customer list.


   DATED: March 25,2019                             Respectfully submitted,-

                                                    ALVARADOSMITH
                                                    A Professional Corporation

                                                    By:     /s/ Theodore E. Bacon
                                                          Theodore E. Bacon
                                                          Jacob Clark
                                                          ALVARADOSMITH,APC
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                                  DECLARATION OF THEODORE E. BACON

            I,THEODORE E. BACON,declare as follows:

            1.        I am an attorney licensed to practice law in the U.S. District Court for the District

   of Colorado, and am an member of the law firm of AlvaradoSmith, a Professional Corporation,

   attorneys of record for Defendant Eurton Electronic Company,Inc.("Defendant"). I am

   responsible for Defending this matter on behalf of Defendant. As such, I have personal

   kno~vvledge of all the facts except as to those matters stated on information and belief, and, as to

   those matters, I believe them to be true. If called as a witness to testify as such, I could and

   would testify competently under oath.

            2.        Attached hereto as Exhibit 1 is Defendant's Proposed Class Notice.

            3.            Attached hereto as Exhibit 2 is a true and correct copy ofthe "Employment

   Discrimination Class Action Certification: Publication Notice," which was obtained from the

   website for the Federal Judicial Center at www.fjc.gov, on or about March 21, 2019.

            4.            Attached hereto as Exhibit 3 is a true and.correct copy of a portion of

   Defendant's document production, documents bate stamp 000097, 108, 127, 14Q, 166, 168, 188,

   227, 228, 230, 231, 233, 234, 236, 237, 239,240,242, 243,245, 246, 248, 249,251, 253;254,
                                                            - 48, 684, 853, 854, 855, 856, 863,
   257, 258,260 261, 270, 306, 371, 384, 385, 506, 519, 520,6

   866, 869, 870, 871, 874, 875, 891, 893, 896, 897, 899,971,982,999, 1006, 1029, 1196.

            5.            Attached hereto as Exhibit 4 is a true and correct copy of a portion of

   Defendant's document production, documents bate stamp 000001-33.



   ///       s

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             6.        Attached hereto as Exhibit 5 is a true and correct copy of pages 1-3, 35-36, 123-

    124 and 149 ofthe Reporter's Transcript for the Deposition of John Buchanan that occurred on

    September.l2, 2017.

             I declare under penalty perjury under the laws ofthe United States that the forging is true

    and correct.

             Executed on March 25,2019 at Los Angeles, California


                                                          /s/ Theodore E. Bacon
                                                                THEODORE E. BACON




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                                    CERTIFICATION OF SERVICE

             I hereby certify that on this 25th day of March 2019, I electronically filed the foregoing
     DEFENDANT EURTON ELECTRIC COMPANY,INC:S OPPOSITION
     TO PLAINTIFF TECH INSTRUMENTATION,INC.' MOTION FOR APPROVAL OF
 `   PLAINTIFF'S PROPOSED PLAN FOR DISSEMINATING NOTICE TO THE CLASS;
     DECLARATION OF THEODORE E. BACON with the Clerk ofthe Court for filing and
     uploading to the CM/ECF system which will send notification of the filing to all Counsel of
     record.



                                                        /s/Theodore E. Bacon
                                                        Theodore E. Bacon




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